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rN THE UNITED sTATES DISTRICT COURT r-'nr:o ;-, m .
FoR THE WESTERN DISTRICT or TENNESSEE ~~ "'»
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UNITED STATES OF AMERICA )
Plaintiff, §
VS § CR. NO. 94-20040-D
GREGORY SHARP §
Defendant. ))
ORDER TO SURRENI)ER

 

The defendant, Gregory Sharp, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to Surrender to the Bureau of Prisons by reporting to the FCI Forrest City,
P.O. Box 7000, Forrest City, Arkansas 72335 by 2:00 p.m. on FRIDAY, SEPTEMBER 16, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant Sha}l
report immediately to the Ot`f`ice of the Clerk, Federal Office Building, 167 N. Main Street, Room 242,
Meniphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant Wi]l report as ordered to the facility named above.

ENTERED this the (fg F/day of June, 2005.

RNICE B. NALD
UNITED STATES DISTRICT JUDGE

 
  

Tbts document entered on the docket sh
with Rule 55 and/or 32(b) FRCrP on

 

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ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defcndant

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 237 in
case 2:94-CR-20040 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

ENNESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

